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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
KDE/KCB                                           271 Cadman Plaza East
F.#2015R002701                                    Brooklyn, New York 11201



                                                  February 10, 2020

By E-mail and ECF

The Honorable Rachel P. Kovner
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:    United States v. Andrew Campos
                      Criminal Docket No. 19-575 (FB)

Dear Judge Kovner:

               The government respectfully submits this letter to notify the Court of a
violation of the defendant Andrew Campos’s conditions of release and request that the Court
revoke the defendant’s bond and order him remanded pending trial.1

I.       Background

         A.    The Charges and Procedural History

                On December 5, 2019, the defendant was arrested and presented before the
Honorable Ramon E. Reyes, Jr., having been charged with, among other crimes, racketeering
conspiracy, including predicate acts of extortionate collection of credit, wire fraud and
obstruction of justice. See Ind., ECF Dkt. No. 15. As detailed in the government’s detention
memorandum, the defendant is a powerful captain in the Gambino organized crime family of
La Cosa Nostra (the “Gambino family”) who, after having served 21 months in federal
prison, has again used his position in that enterprise to enrich himself and other members and
associates of organized crimes through a multitude of offenses, including many relating to
his firm, CWC Contracting Corp. See Detention Mem., ECF Dkt. No. 17. In addition to the
allegations in this case – which include earning millions of dollars of illicit proceeds,

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         The government understands that the Honorable Frederick Block, to whom this case
is assigned, is currently unavailable. Accordingly, the government makes the instant
application to the Honorable Rachel P. Kovner, who is the miscellaneous district judge.
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extorting a witness of over $100,000, retaliating against a witness for having testified in the
grand jury and managing other important affairs of the Gambino family – Campos had been
observed in 2017 meeting with a former co-defendant in violation of that person’s terms of
supervised release. See id. at 20-21. At the December 5 arraignment, Judge Reyes ordered
the defendant detained pending trial.

               The defendant appealed Judge Reyes’s detention order to Judge Block, who
heard oral argument on the motion on December 19, 2019. See Ex. A (Tr. of Dec. 19 Hr’g).
During the oral argument, defense counsel maintained that the proposed bail package
afforded sufficient moral suasion over the defendant such that he would abide by any terms
of release. See, e.g., id. at 6:18-21 (“So what we’ve presented here, after a balancing of the
3142(g) factors, we believe is an incredibly substantial package of sureties that carry huge
moral suasion on Mr. Campos.”). Among other things, the government expressed its concern
that the defendant would be able to continue to commit crimes and manage the affairs of the
Gambino family by, among other things, using unmonitored cellular telephones. See, e.g.,
id. at 11:3-16. The Court later asked counsel:

              THE COURT:              Does your client realize if there is one slip
                                      up, one phone call to somebody he should
                                      not be speaking to, anything at all, that all
                                      these folks are going to lose their home.
                                      Does he realize that?

              MR. MAZUREK:            Yes, he does.

              THE COURT:              That will happen.

Id. at 20:24-21:5 (emphases added).

               On December 23, 2019, the Court vacated Judge Reyes’s detention order and
directed that the defendant be released on certain strict conditions (the “Release Order”).
The Court held that those conditions would “severely limit [the defendant’s] ability to
engage in other crimes or acts of obstruction without the government’s knowledge,” and the
“risk of [the suretors’ financial] loss should Campos violate any of the conditions of his
release” was sufficient moral suasion to ensure the defendant’s compliance. Release Order,
ECF Dkt. No. 104, at 3-4.

             As relevant here, the Court ordered that the defendant be released on a $4.5
million bond, placed on home detention and “subject to electronic monitoring of his cellular
telephone and other internet-enabled devices by Pretrial Services.” Id. at 5. The Release
Order specified that “[t]he defendant shall not access any cellular telephones or other
internet-enabled devices belonging to his wife and children. All such devices shall be
protected by passwords to which the defendant does not have access.” Id. The defendant
was released on December 26, 2019. See Bond, ECF Dkt. No. 112. Consistent with the
Release Order, the executed bond specified that the defendant was “subject to electronic
monitoring of cell phone and internet enabled devices by PTS [i.e., Pretrial Services]. Cell


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phone or other internet devices belonging to his wife and children shall be password
protected [to] which the [defendant] does not have access.” Id. Subsequent to his release,
the defendant affirmed to Pretrial Services that he would not use any cellular devices but
would instead use a computer (that would be monitored) and a landline (that would not be
monitored). Therefore, the defendant is not permitted to use any cellular telephones. The
Release Order cautioned the defendant that “violating any of the foregoing conditions of
release may result in the immediate issuance of a warrant of arrest, a revocation of the order
of release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of
court and could result in imprisonment, a fine, or both.” Release Order at 6.

       B.     The February 10 Use of a Cellular Telephone

              On February 6, 2020, the defendant filed a motion, with consent of the
government, seeking permission to take one of his daughters to a medical appointment in
Connecticut (the “Connecticut Doctor”) on February 10, 2020. See Ltr., ECF Dkt. No. 143.
On February 7, 2020, the Court granted this request.

               On February 10, law enforcement officers conducted surveillance on the
defendant to ensure his compliance with the terms of his release. Specifically, at
approximately 11:40 a.m., a Special Agent with the Federal Bureau of Investigation observed
the defendant and his daughter arrive in the publicly-accessible waiting area of the
Connecticut Doctor’s office. After the daughter checked in, she sat next to the defendant. At
approximately 12:24 p.m., the agent observed the defendant, seated next to his daughter, with
his head down using a cellular telephone. (See Ex. B (photograph of the defendant in a tan
shirt and black jacket in the center of the picture).2)

               At approximately 12:30 p.m., the defendant and his daughter got up and went
into another, not publicly-accessible area of the office (the “Back Area”). By at least
approximately 2:23 p.m., the defendant had returned from the Back Area and was seated
alone in the public waiting area. At approximately 2:41 p.m., the defendant – without having
been called by any staff – got up and went back to the Back Area. At approximately 3:43
p.m., the defendant and his daughter returned to the waiting room, left the Connecticut
Doctor’s office, went to their vehicle and the defendant drove them away.

               Thereafter, the defendant and his daughter arrived back at the defendant’s
home and agents stopped the defendant and searched his person. The defendant did not have
any cellular devices on his person and gave consent to search his vehicle, which also did not
have such devices. The defendant’s daughter declined to give consent to search her cellular
telephone. The defendant asked an agent why he had been stopped, and the agent informed
him, in sum and substance, that he had been seen using an electronic device. The defendant
denied doing so.

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        Although the photograph does not explicitly picture the telephone, it does reveal the
defendant’s head down, with his right wrist in front of him, looking at an object, which the
agent observed was a cellular telephone.

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II.    Applicable Law

       A.      General Principles

                In its detention memorandum, the government detailed the principles
governing pretrial release and does not repeat them here. See Detention Mem. at 2-5. The
government does stress, however, two principles articulated by the Second Circuit that are
particularly relevant here: (i) organized crime defendants are especially likely to violate the
conditions of bail, see id. at 3; and (ii) elaborate bail packages that seek to “replicate a
detention facility without the confidence of security such a facility instills,” particularly those
that enable a wealthy defendant to enjoy pretrial release whereas a poorer but similarly-
situated defendant would not, are inappropriate. United States v. Millan, 4 F.3d 1039, 1049
(2d Cir. 1993) (internal citations and quotation marks omitted); see generally United States v.
Boustani, 932 F.3d 79 (2d Cir. 2019) (holding that the Bail Reform Act does not permit two-
tiered bail systems where wealthy defendants are effectively released to “self-funded private
jails”).

       B.      Standard for Bond Revocation

               Under 18 U.S.C. § 3148(a), “[a] person who has been release[d] under [18
U.S.C. § 3142] and who has violated a condition of his release, is subject to a revocation of
release, an order of detention, and a prosecution for contempt of court.” 18 U.S.C.
§ 3148(a). A proceeding for revocation of an order of release may be initiated by the
government “by filing a motion with the district court.” Id. Section 3148(b) further
provides, in relevant part, that if the Court finds that: “(A) based on the factors set forth in
section 3142(g) of this title, there is no condition or combination of conditions of release that
will assure that the person will not flee or pose a danger to the safety of any other person or
the community; or (B) the person is unlikely to abide by any condition or combination of
conditions of release,” then the Court “shall enter an order of revocation and detention.”3
The Court retains discretion to hold an evidentiary hearing on the revocation, but may revoke
a defendant’s bail without such a hearing where the Court makes a sufficient finding on the
record before it. See United States v. Galanis, 656 F. App’x 560, 562 (2d Cir. 2016)
(summary order) (affirming the district court’s revocation of bail without an evidentiary
hearing, finding that the district judge “acted within his discretion in proceeding based on the
government’s proffer and his review” of the evidentiary record).



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         Section 3148(b) also provides that “[t]o the extent practicable . . . [the defendant]
shall be brought before the judicial officer who ordered the release and whose order is
alleged to have been violated.” As set forth above, although Judge Block ordered the
defendant’s release on December 23, 2019, the government understands that Judge Block is
currently unavailable. The government thus directs this application to Judge Kovner, the
miscellaneous district judge.



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III.   Analysis

                The government has repeatedly argued that the defendant cannot be trusted to
abide by any terms of release. Given his long-time, high-ranking status in a violent criminal
enterprise, his prior federal conviction, the serious nature of the instant offenses and his
repeated efforts to obstruct justice and help evade court-authorized supervision, the
government has requested that the defendant be detained pending trial. The government
envisioned that if released, the defendant could, among other things, use a family member’s
unmonitored cellular telephone in contravention of any court order. See, e.g., Dec. 20, 2019
Ltr., ECF Dkt. No. 102, at 3 (arguing that “asking Campos’s family members to promise not
to give their father or husband access to their devices shifts all responsibility for compliance
to Campos and his family, and does so in a way that makes oversight of that compliance by
Pretrial Services or the government almost impossible”).

                Unfortunately, the defendant has proven the government correct. Less than
two months after his release from custody, and during his first court-authorized trip outside
the home, the defendant was caught using a cellular telephone in direct contravention of his
terms of release. Although the government is still investigating the nature of the
unauthorized use of the cellular telephone, the fact that it occurred at all – coupled with his
false denial to law enforcement – shows that the defendant cannot be trusted to abide by any
terms of release. Indeed, despite counsel’s repeated assurances to the contrary, the purported
moral suasion instilled by his friends’ and family members’ role as sureties was not sufficient
to ensure that the defendant abided by the terms of release. That the government was able to
observe the defendant’s illicit use of a cellular device on this one occasion – when the
defendant was in public and, one would expect, would be on his best behavior – reinforces
the government’s concern that the defendant is able to have much more extensive,
unmonitored communications while in the privacy of his own home.

              In short, in light of all of the facts and circumstances of this case, the
defendant’s blatant disregard for the terms of his release, despite the severe financial
consequences on his suretors, reveals that the defendant is “unlikely to abide by any
condition or combination of conditions of release.” 18 U.S.C. § 3148(b)(2)(B). As such, the
Court “shall enter an order of revocation and detention.” Id. § 3148(b).




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IV.     Conclusion

               For the reasons set forth above and in its prior submissions, the government
respectfully requests that the Court revoke the defendant’s bond and that he be detained
pending trial.


                                                  Respectfully submitted,

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                                                  United States Attorney

                                           By:            /s/
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Encl.




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